
726 S.E.2d 181 (2012)
Gary Lewis MILLER-EL
v.
NC JUDICIAL STANDARDS COMMISSIONS, et al.
No. 355P09-3.
Supreme Court of North Carolina.
June 13, 2012.
Gary L. Miller-El, Tillery, for Miller-El, Gary L.
Robert C. Montgomery, Special Deputy Attorney General, for State of NC.
L. Johnson Britt, III, District Attorney, for State of NC.
The following order has been entered on the motion filed on the 7th of May 2012 by Defendant for Habeas Corpus:
"Motion Denied by order of the Court in conference, this the 13th of June 2012."
